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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 DEVERY DAVIS and CLIFTON      §                     CIVIL ACTION NO. ____________
 HUMPHREY, INDIVIDUALLY AND    §
 ON BEHALF OF ALL OTHERS       §
 SIMILARLY SITUATED,           §
                               §
      Plaintiffs,              §
                               §
 v.                            §
                               §
 FIVE OAKS ACHIEVEMENT         §
 CENTER, LLC d/b/a FIVE OAKS   §                          COLLECTIVE ACTION
 ACHIEVEMENT CENTER;           §
 WHISPERING HILLS ACHIEVEMENT §
 CENTER, LLC d/b/a WHISPERING  §
 HILLS ACHIEVEMENT CENTER; and §
 NORTH FORK EDUCATIONAL        §
 CENTER, LLC d/b/a NORTH FORK  §
 EDUCATIONAL CENTER,           §
                               §
      Defendants.              §

             INDIVIDUAL AND COLLECTIVE ACTION COMPLAINT
                 UNDER THE FAIR LABOR STANDARDS ACT

TO THE HONORABLE JUDGE OF SAID COURT:

       Devery Davis and Clifton Humphrey (“Plaintiffs”) bring this collective action

complaint on behalf of themselves and others similarly situated to recover unpaid back

wages for overtime compensation from Five Oaks Achievement Center, LLC d/b/a Five

Oaks Achievement Center (hereinafter referred to as “Five Oaks”), Whispering Hills

Achievement Center, LLC d/b/a Whispering Hills Achievement Center (hereinafter referred

to as “Whispering Hills”), and North Fork Educational Center, LLC d/b/a North Fork

Educational Center (hereinafter referred to as “North Fork”) (collectively referred to as

“Defendants”).

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                                         I.
                                NATURE OF THE ACTION

1.    Plaintiffs bring this civil action, individually and collectively, pursuant to the

      Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq. (the

      "FLSA" or the "Act") on behalf of themselves and on behalf of all those similarly

      situated, to recover unpaid back wages (29 U.S.C. § §201, et. seq.), an additional

      equal amount as liquidated damages (29 U.S.C. § 216(c)), attorney’s fees and

      costs (29 U.S.C. § 216), and pre- and post-judgment interest.

2.    Defendants Five Oaks, North Fork and Whispering Hills have violated the FLSA

      by routinely requiring Plaintiffs to work in excess of forty (40) hours per week,

      but refusing to compensate them for such hours at the overtime rate required

      under the FLSA.

3.    Defendants impermissibly deducted an eight (8) hour sleep time period from its

      Direct Care Staff Employees’ hours worked resulting in overtime violations.

4.    Plaintiffs, as the putative collective/class representatives, seek certification of

      this suit as a collective action on behalf of all current and former Direct Care

      Staff Employees of Defendants described, referenced and identified below, who

      worked for Defendants performing work or have performed duties similar to the

      duties performed by the Plaintiffs for the Defendants (collectively referred to as the

      "Similarly Situated Direct Care Staff Employees").

                                            II.
                                       THE PARTIES

5.    Plaintiff Devery Davis ("Plaintiff Davis") resides in Wharton, Wharton County,

      Texas. Plaintiff Davis worked for Five Oaks as a Direct Care Staff Employee from

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      November, 2013 until September, 2018. Attached as Exhibit “1” is Plaintiff Davis’

      Notice of Consent to filing this action.

6.    Plaintiff Clifton Humphrey ("Plaintiff Humphrey") resides in Rosenberg, Fort

      Bend County, Texas. Plaintiff Humphrey worked for Five Oaks as a Direct Care

      Staff Employee from April, 2011 until August, 2018. Attached as Exhibit “1” is

      Plaintiff Humphreys’ Notice of Consent to filing this action.

7.    Defendant Five Oaks Achievement Center, LLC ("Five Oaks"), is now and at all

      times hereinafter mentioned was, a limited liability company in Fort Bend County,

      Texas, within the jurisdiction of this Court, doing business as Five Oaks

      Achievement Center, a for-profit residential treatment center for troubled youth

      located at 7674 Pechacek Road, New Ulm, Texas 78950.

8.    Defendant North Fork Educational Center, LLC (“North Fork”) is now, and at

      all times hereinafter mentioned was, a limited liability company in Fort Bend

      County, Texas, within the jurisdiction of this Court, doing business as North Fork

      Educational Center, a for-profit residential treatment center for troubled youth

      located at 3001 Elm Grove Road, Wylie, Texas 75098.

9.    Defendant Whispering Hills Achievement Center, LLC ("Whispering Hills") is

      now, and at all times hereinafter mentioned was, a limited liability company in Fort

      Bend County, Texas, within the jurisdiction of this Court, doing business as

      Whispering Hills Achievement Center, a for-profit residential treatment center for

      troubled youth located at 4110 FM 609, Flatonia, Texas 78941.




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                                              III.
                                    JURISDICTION AND VENUE

10.    Defendants Five Oaks, Whispering Hills, and North Fork are located in Fort Bend

       County, Texas. Therefore, this action is within the jurisdiction of the United States

       District Court for the Southern District of Texas and venue is proper in the Southern

       District of Texas, Houston Division.

11.    Defendants were employers of Plaintiffs and other Similarly Situated Direct Care

       Staff Employees within the meaning of the FLSA.

12.    Jurisdiction is proper in this Court pursuant to 29 U.S.C. §216 and §217 and 28

       U.S.C. §1331 and §1345. This Court has original subject matter jurisdiction under

       29 U.S.C. § 216(b) and 28 U.S.C. § 1331 because this action involves a federal

       question under the FLSA.

13.    This Court has personal jurisdiction over Defendants because (1) all of the alleged

       events occurred in this judicial district; (2) Defendants have transacted and are

       transacting business in this district; and (3) Defendants reside in and have places of

       business in this district.

14.    Venue in this district is proper in the Southern District of Texas because a substantial

       portion of the events forming the basis of this suit occurred in the Southern District

       of Texas.

                                       IV.
                    ENTERPRISE AND INDIVIDUAL FLSA COVERAGE

15.    At all times hereinafter mentioned, Defendants Five Oaks, Whispering Hills, and

       North Fork have been an enterprise within the meaning of 29 U.S.C. § 203(r), in that

       Defendants have been, through unified operation or common control, engaged in the
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       performance of related activities for a common business purpose, which is operating

       three for-profit residential treatment centers for troubled youth.

16.    At all times hereinafter mentioned, Defendants have been an enterprise engaged in

       commerce or in the production of goods for commerce within the meaning of 29

       U.S.C. § 203(s)(1)(A), in that they have employees engaged in commerce or in the

       production of goods for commerce, or employees handling, selling, or otherwise

       working on goods or materials that have been moved in or produced for commerce

       by any person and in that it has an annual gross volume of sales made or business

       done of not less than $500,000 (exclusive of excise taxes at the retail level which are

       separately stated).

                                    V.
                    BACKGROUND AND STATEMENT OF CLAIMS

17.    Defendants have violated the provisions of 29 U.S.C. §§ 207 and 215(a)(2), by

       employing employees in an enterprise engaged in commerce or in the production of

       goods for commerce within the meaning of the Act for workweeks longer than forty

       hours without compensating such employees for their employment in excess of forty

       hours per week at rates not less than one and one-half times the regular rates at which

       they were employed.

18.    Defendants wrongly deducted eight hours of sleep time from the Direct Care Staff

       Employees’ hours worked each week. In order for Defendants to deduct eight of

       hours of sleep time, Defendants should have met certain requirements – which they

       failed to do. Defendants failed to (1) provide adequate sleep facilities for the Direct

       Care Staff Employees and (2) ensure the Direct Care Staff Employees received at

       least five hours of uninterrupted sleep each night.
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19.     As a result of the violations of the FLSA, overtime compensation has been willfully

        and unlawfully withheld by Defendants from their employees. Plaintiffs and other

        Similarly Situated Direct Care Staff are employees within the meaning of 29 U.S.C.

        § 203(e)(1).

20.    The relationship between Defendants and Plaintiffs (and the other Similarly Situated

        Direct Care Staff Employees) was a continuing relationship.

21.     Defendants knew they were required by the FLSA to pay an additional one and

        one-half premium rate for the overtime work of Plaintiffs and the other Similarly

        Situated Direct Care Staff Employees.

22.     Defendants willfully failed to pay the Plaintiffs and the other Similarly Situated

        Direct Care Staff Employees overtime.

23.     The failure to pay overtime was a violation of the FLSA, including §§ 207(a) and

        15(a)(2).

                                        VI.
                                DIRECT CARE STAFF
                       CLASS/COLLECTIVE ACTION ALLEGATIONS

 24.     Plaintiffs hereby adopt and incorporate by reference all of the foregoing paragraphs,

         allegations and Exhibit “1,” as if set forth herein verbatim.

 25.     There is a collective/class in excess of four other Similarly Situated Direct Care

         Staff Employees who have performed work similar to the Plaintiffs.

 26.     Plaintiffs and the other Similarly Situated Direct Care Staff were unpaid overtime

         compensation, thus requiring overtime due at a rate of an additional one and one-

         half times the regular rate of pay for all hours worked in excess of forty (40) hours

         in each workweek.

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 27.     Plaintiffs and the other Similarly Situated Direct Care Staff were not guaranteed

         any specific number of paid days in any workweek, and they were not paid on a

         salary basis.

 28.     Plaintiffs and the other Similarly Situated Direct Care Staff have consistently

         worked more than forty (40) hours in workweeks.

 29.     Plaintiffs and the other Similarly Situated Direct Care Staff have not been paid for

         overtime at one and one-half times the regular rate of pay for hours worked in

         excess of forty (40) hours per workweek.

 30.     Plaintiffs and the other Similarly Situated Direct Care Staff are entitled to payment

         of overtime at the rate of an additional one and one-half times their regular rate of

         pay for the time period worked in excess of forty (40) hours per workweek.

31.     Plaintiffs and the other Similarly Situated Direct Care Staff of Defendants on whose

        behalf this lawsuit is brought include all present and former Direct Care Staff

        Employees of Defendants who have performed duties similar to the duties

        performed by the Plaintiffs. These employees have been subject to the same

        policies and practices as the Plaintiffs regarding non-payment of overtime wages

        at an additional one and one-half times their regular rate of pay.

 32.     Defendants have violated 29 U.S.C. §207 of the FLSA by failing to pay the

         Plaintiffs, and the other Similarly Situated Direct Care Staff, overtime

         compensation required by the FLSA in workweeks in which they worked in

         excess of forty (40) hours.

 33.     Defendants' violations have been willful.

 34.     There are questions of law and fact common to the class/collective.

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35.     The claims or defenses of the representatives, Plaintiffs Davis and Humphrey,

        are typical of the claims or defenses of the class/collective.

36.     The representatives, Plaintiffs Davis and Humphrey, will fairly and adequately

        protect the interests of the collective/class.

37.     Counsel for the Plaintiffs, Washington & Associates, PLLC, has conducted

        significant investigation as to potential claims and parties in this case.

38.     Prosecuting this case as a class/collective action for similarly situated

        employees who have been unlawfully denied overtime wages will promote

        judicial efficiency and will best protect the interest of the class/collective

        members.

39.     There are no conflicts of interest among the class/collective members.

40.     Counsel for the Plaintiffs, Washington & Associates, PLLC, is knowledgeable

        and experienced in the field of employment law and can and will fairly and

        competently represent the interests of all class members.

41.     Counsel for Plaintiffs has and will commit the human and financial resources

        necessary to represent the class/collective.

42.     Plaintiffs' written Consents to this action are attached collectively as Exhibit “1”

        and incorporated by this reference.

                                  VII.
                            CAUSE OF ACTION:
            DIRECT CARE STAFF EMPLOYEES UNPAID OVERTIME –
                    FAIR LABOR STANDARDS ACT (FLSA)
               (INDIVIDUAL AND CLASS/COLLECTIVE ACTION)

43.     Plaintiffs hereby adopt and incorporate by reference all of the foregoing paragraphs,

        allegations and Exhibit “1,”, as if set forth herein verbatim.

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 44.     Plaintiffs and the other Similarly Situated Direct Care Staff Employees were not

         paid on a salary basis.

 45.     Plaintiffs and the other Similarly Situated Direct Care Staff Employees are entitled

         to overtime at a rate of an additional one and one-half times their regular rate of

         pay for all hours worked in excess of forty (40) hours per workweek.

 46.     Plaintiffs and the other Similarly Situated Direct Care Staff Employees have

         worked workweeks in excess of forty (40) hours.

 47.     Defendants have failed to pay overtime to Plaintiffs, and the other Similarly

         Situated Direct Care Staff Employees for the hours worked in excess of forty (40)

         hours per workweek.

 48.     Defendants impermissible deducted 8 hours of sleep time from the Direct Care Staff

         Employees’ hours worked each week without providing adequate sleep facilities

         and ensuring employees received five hours of uninterrupted sleep each night.

 49.     Defendants' failure to pay overtime was willful and lacking in good faith, thus

         entitling Plaintiffs and the other Similarly Situated Direct Care Staff to a three-

         year statute of limitations and requiring Defendants to pay interest and

         liquidated damages.

                                          VIII.
                                     ATTORNEY’S FEES

        Defendants’ actions and conduct as described herein and the resulting damage and

loss to Plaintiffs have necessitated Plaintiffs retaining the services of Washington &

Associates, PLLC, 2019 Wichita Street, Houston, TX 77004, in initiating this proceeding.

Plaintiffs seek recovery of reasonable and necessary attorney’s fees. Plaintiffs are entitled

to attorney’s fees under 29 U.S.C. § 216(b) and other applicable law.
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                                           PRAYER

       WHEREFORE, Plaintiffs Devery Davis and Clifton Humphrey, through their

undersigned counsel, respectfully request that this Court:

       A.     Upon proper motion, enter an order certifying this suit as a collective
              action on behalf of all current and former staff of Defendants performing
              direct care for Defendants, regardless of what title they were initially or
              later given by Defendants, and that notice therefore be distributed to all
              putative class/collective members;

       B.     Order Defendants to make the Plaintiffs and the other Similarly Situated
              Direct Care Staff whole by paying the overtime wages due;

       C.     Order Defendants to pay interest and liquidated damages on all wages
              owed;

       D.     Order Defendants to make proper payments of all Federal withholdings
              and taxes to the Internal Revenue Service;

       E.     Order Defendants to make the Plaintiffs, and all others Similarly Situated
              Direct Care Staff, whole by paying monetary damages, liquidated
              damages, interest and other affirmative relief necessary to eradicate the
              effects of their illegal actions;

       F.     Order Defendants to pay costs and attorney’s fees incurred by the Plaintiffs
              and the other Similarly Situated Direct Care Staff; and

       G.    Grant such further relief as the Court deems necessary and proper.




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                               Respectfully submitted,

                               WASHINGTON & ASSOCIATES, PLLC

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